          Case 1:18-cv-05257-NGG-JO Document 5 Filed 12/18/18 Page 1 of 1 PageID #: 21

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                              Plaintiff                                      
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                            Defendant                                        

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             (Name of the plaintiff’s attorney or unrepresented plaintiff)

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